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The Honorable Richard G. Andrews
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                                             Respectfully,

                                             /s/ Frederick L. Cottrell, III

                                             Frederick L. Cottrell, III (#2555)


FLC,III/afg

cc:      All Counsel of Record (via email)




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                                CERTIFICATE OF SERVICE

I hereby certify that on April 3, 2018, I caused true and correct copies of the foregoing document

to be served on the following counsel in the manner indicated:



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